Feb 1221 11/328 i i
cibedy/astittte.10121-NSR Document 29 Filed 0291873%°'Page 1 of 3?"

xy couRT

2 5 DISTRIC
UNITED STAT sD MEW oRK.

SOUTHE
UNIT

RN DISTRICT OF
mb STATES OF AMERICA,

Plaintiff,
No. 20 Civ. 10121 CNSR)

-y-

VILLAGE OF AIRMONT,

bo

AFFIDAVIT OF RABBI MOISHE BERGER

1, Rabbi Moishe Berger, reside at 22 Rustic Drive, Airmont, NY 10¥52.
ince July 2015, when I bought my

[ have been a resident of Airmont, New York s
Ress Revidemtial Toning

home ‘ny Airmont on 2 36,672 square foot lot located ina
District.

I “ r : . r . .
i ame Hasidic Jews Rabbi. It is the sincerely held religious belief of my Orthodox
Jewish comm a at at least en men (age 13 and up) must come together to pray
ce e afternoon each day. It is our sincerely held
@
religious belief that we cannot walk on the Sabbath or some holidays ond $6 We THUSt
ithin walking distance of our place of worship. — :

M He] * adie wat

nat eee eee that T welcome any one to-pray in my home, even if! am

for prayer to take J awe vah in my bome to allow myself and those that co

vise the mike é Jewish ritual purification baths. Only © Haar come
¢ mikvah al atime, y a small number of people can

2 7 a

Kippur, the holi
ippur, the holiest day of the year, I “1
Kippor. Sukkos lasts nine days. , I naust build a sukkos, or small hut, prior to Yorn

Towards the end of 20

15, some of my nei

a place to worship i oo ¥ neighbors asked if the

provide a space - in the neighborhood, As a Rabbi, f believe isi use my home as

home and ‘or people ta worship, and I allow dmv nei it is important for me to
and pray daily. ed my neighbors to come to my

a I 2
Feb 122111:32a

Liberty Institut
Case 7:20-cv-10121-NSR Document 29 Filed o3/1et Page 20f3 °°

10.

1].

13.

14.

13.

conversion of about 600 square feet of my home for use as a worship space during
morning and evening services on Saturdays and Jewish holidays.

My application was scheduled for a hearing before the CDRC in January 2016. 1 did
not understand why I needed to meet some of the Village's requirements, especially,
regarding the ADA and landscaping. Even though | did not understand why the
requirements to pray in a home were so onerous, I submitted the documents and tried
to meet the Village’s requirements because ] wanted to get the proper approvals.

That summer, after Phillip Gigante and other members of Preserve Airmont won the
local election, there were changes to the staffing of the Zoning and Planning
Department, including new Building and Fire Inspectors.

In September 2016, I went back to the CDRC. After the fire inspector told me that he
didn’t like my plan, especially the parking lot, { changed the plan and submitted
another proposal.

In April 2017, f went before the CDRC again and I was finally approved to go before
the Planning Board if I made additional changes.

_On June 22, 2017, I appeared at the Planning Board meeting. The Village Engineer,

wha was present at my CDRC meetings and had stated that everything looked fine
with the plans, now raised the issue that she thought the worship space was larger
than 1400 square feet and a problem. She said that the Building Inspector, Louis
Zummo, needed to decide whether I could have a worship space larger than 1400
square feet. This was the first time I heard that the Village Code might prevent me
from having my wotship space because it was larger than 1400 square feet. Zurnmo
was not at that meeting so I had to wait for a determination from him.

In response to the Planning Board’s mention of the 1400 square feet limitation, my
former lawyer, Ryan Karben, wrote two letters to Louis Zummo, the new Building
Inspector for the Village of Airmont. The letters dated July 14, 2017 and August 6,
2017, challenged the limit on the size of my house of worship to 1400 feet stating thal
the definition in § 210-12.1(C) does not provide any limitations based on size.

The Village did not respond to either of these letters until December 27, 2017. ‘The
letter from Lovis Zummo stated that the proposed square footage of the space for
worship in my home, 3035 square feet, was well above a maximum 1400 square feet
allowed by the code for a residential house of worship on a lot of my size which the
letter suggested was undersized for my zone.

My over 36,000 square foot lot is not undersized for my 35,000 square foot zone. I
also Knew that the actual worship space 1s not tnore than 1400 square feet. The
Village added my Rabbi study, the hallway, bathrooms, and other areas to the
calculation of the worship space. This unfair calculation process along with the fact
that the Village was saying thet spaces larger than 1400 square feet were banned,
Feb 1221 11:32 Liberty Institut
Case 7:20-cv-10121-NSR Document 29 Filed 03/18/42°88je 30f3 9 P4

which was not true, showed me that the Village had no intention of approving my
worship space, no matter what I did.

16. In February, [ received a violation from the Village regarding my worship space. T
knew that I was not going to get approved with a violation and I could not resolve the
violation because the Village was not going to approve my application.

17. I did not know how to resolve the unlawful calculation of my worship space, and by
this time, the process was becoming very expensive. I had already speat over $20,000
on the application process.

18. | continue to want to gain approval of my home for religious use.

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and
correct. Executed on February ja, 2021.

“Eta Lf ge
Rabbi Moishe Berger

